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                                                                                                          ALLIANCES IN MEXICO
                                                                                                             AND SRI LANKA




  February 8, 2022

  VIA ECF
  The Honorable Thomas Vanaskie
  Special Discovery Master
  Stevens & Lee
  1500 Market Street, East Tower, 18th Floor
  Philadelphia, PA 19103


            Re:        In re Valsartan, Losartan, and Irbesartan Products Liability
                       Litigation, Case No. 1:19-md-02875-RBK-KW
  Dear Judge Vanaskie:
            The ZHP Parties submit this letter brief to provide additional authorities

  demonstrating that document ECF 1189, Ex. CC, is not a publicly available

  document and therefore should not be de-designated in whole or in part.


                       INTRODUCTION AND SUMMARY OF ARGUMENT

            ECF 1189, Ex. CC, is the Final GMP Inspection Report from a joint inspection

  by the European Union drug regulatory authorities, the European Medicines Agency

  and the European Directorate for the Quality of Medicines & Healthcare (hereinafter
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  “EMA” and “EDQM”), of ZHP’s Chuannan and Xunqiao facilities in China (the

  “GMP Report” or “Report”).


        The GMP Report contains sensitive commercial and proprietary information

  concerning numerous API products produced at the inspected facilities, including

  the chemical structure of the APIs, internal product codes and the physical location

  (e.g., the workshop identifier or production area) where the API is produced.


        The Report also contains detailed descriptions of the internal processes and

  procedures employed by ZHP in its research and production operations, comments

  and evaluations from the regulators regarding technical and procedural aspects of

  the drug manufacturing, quality control, maintenance and other internal processes

  and procedures in the inspected facilities. The inspectors’ review and sampling of

  particular batches of product, their careful consideration of specific technical

  processes and equipment, process development and product manufacture pervade

  their Report. All of this information is sensitive commercial information of interest

  and value to ZHP’s competitors, is not shared with them by the company, and, if

  disseminated, would provide ZHP’s competitors with confidential and highly

  sensitive information they do not have about ZHP’s API and finished dose

  manufacturing operations.
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        Moreover, as shown below, the EMA’s own regulations provide complete

  confidentiality and non-public access to the GMP Report.


                                     ARGUMENT

        I. The EMA Has Designated GMP Reports as Non-
           Public Documents.

        The Court should maintain the Restricted Confidential designation of the

  GMP Report because the European Parliament’s Regulation (EC) No. 1049/2001,

  as incorporated into the EMA’s own guidelines relating to public access to its

  documents, precludes public access to its GMP inspection reports.


        The EMA maintains a highly detailed policy regarding public access to EMA

  documents. The European Medicines Agency Policy on Access to Documents,

  Policy/0043 provides the controlling directives for public access to EMA

  documents. See Policy/0043 attached hereto as Exhibit A. The policy has been in

  effect since at least 2010, with the most recent revision adopted in October 2018. Id.

  Although Policy/0043 expresses a goal of “[o]penness and transparency” for “the

  widest possible access to the documents [generated by the agency]…”, it also

  repeatedly underscores that “certain public and private interests, such as …the

  commercial interests of a natural or legal person, shall be protected by way of

  exceptions in line with the provisions of Regulation (EC) No. 1049/2001.” Id. at
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  p. 1. Policy/0043 also states that “EU Institutions and Agencies are entitled to

  protect their internal consultations and deliberations where necessary to carry out

  their tasks.” Id.


        Section 4.1.1 of Policy/0043 provides:

        Whilst providing adequate protection of commercial confidential
        information, personal data and other conflicting interests as identified
        ..., access to a requested document will be denied only if one of the
        exceptions listed in Article 4 of Regulation (EC) No. 1049/2001 will be
        considered applicable.

        See Ex. A at p. 3.


        Article 4 of Regulation (EC) No. 1049/2001 provides that public access to

  certain documents “shall be refused by virtue of application of one of the following

  exceptions”:

        2. EMA shall refuse access to a document where it determines that disclosure
           would be likely to undermine the protection of:

            a) commercial interests of a natural or legal person, including intellectual
            property,

                                     ***

            c) the purpose of inspections, investigations and audits,

  See Regulation (EC) No. 1049/2001, as reprinted in the Annex to Ex. A.
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        In conjunction with Policy/0043 and Regulation (EC) NO. 1049/2001, the

  EMA issued a document titled “Output of the European Medicines Agency policy on

  access to documents related to medicinal products for human and veterinary use”

  EMA/127362/2006 Rev. 1 (hereinafter the “Output Chart”), a fifty-eight (58) page

  chart that pre-designates public access designations for many categories of the

  agency’s documents. See Output Chart attached as Exhibit B. For many categories

  of documents on the Output Chart, the designated documents are “releasable” and

  public access is allowed. Id. Electronic searches of the EMA public databases

  reflect tens if not hundreds of thousands of publicly available documents. The GMP

  Report relating to the inspection of the ZHP Parties’ facilities is not among them,

  however.


        Section 1.1 of the Output Chart contains the following entries related to GMP

  Reports such as the one at issue in ECF 1189, Ex. CC:
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  Ex. B at pp. 15-16. The GMP Report at issue here falls within the second category

  of GMP inspection reports in the chart above: “Inspections carried out by NCAs

  under their national inspection programmes”.     NCAs, or National Competent

  Authorities of EU Member States, are the recognized and approved EU partner

  agencies and experts from EU nations that work closely with the EMA and the EU

  regulatory system to maximize cooperation and ensure the European medicines

  regulatory network functions efficiently.   See generally, “National Competent

  Authorities,”    https://www.ema.europa.eu/en/partners-networks/eu-partners/eu-

  member-states/national-competent-authorities-human, attached as Exhibit C. The

  EMA and NCAs collaborate to maintain a close international cooperation between

  pharmaceutical inspection authorities in the field of GMP. Id. The 2018 GMP

  inspection that is the subject of the ZHP Parties’ GMP Report was conducted by,
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  among others, inspectors from the Italian Medicines Agency (Italy), Agencia

  Espanola de Meicamentos Y Productos Sanitarios (Spain), and a scientific expert

  from the Federal Institute for Drugs and Medical Devices, BfArM (Germany).

  These are all EMA-approved NCAs.


        As reflected in the EMA Output Chart, the EMA explicitly designates GMP

  Inspection Reports in all categories as “Non-R” (non-releasable) and “No” public

  access documents. Ex. B. at pp. 15-16, 58. The Output Chart further references the

  Article 4.2.3rd indent exception to public access to such materials as the basis for

  withholding their dissemination: “The Agency shall refuse access to a document

  where disclosure would undermine the protection of the purpose of inspections,

  investigations and audits.” Ex. B at pp. 15-16; 58. Additionally, the Output Chart

  reflects the EMA’s intention that GMP Reports should not be made publicly

  available even if they are subject to redaction. See Ex. B, pp. 15-16, column 7.


        It would be inappropriate for this Court to order the de-designation and public

  release of the GMP Report in direct contravention of the clearly expressed intention

  of the EMA to maintain GMP inspection reports as non-public documents. The

  EMA made, and published, the decision to restrict public access to GMP reports in

  order to protect the integrity and effectiveness of such inspections.         Courts

  consistently uphold the deference afforded to an agency in the interpretation of
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  statutes administered by the agency, and observe even greater deference to an

  agency’s interpretation and application of the agency’s administrative regulations.

  See Udall v. Tallman, 380 U.S. 1, 16 (1965) (holding that while Courts give great

  deference to the interpretation applied to a statute by the agency charged with its

  administration, “when the construction of an administrative regulation rather than a

  statute is in issue, deference is even more clearly in order.”); State of Vermont v.

  Thomas, 850 F.2d 99, 102 (2d Cir. 1988) (“when the Administrator’s interpretation

  of his own regulations is at issue, ‘deference is even more clearly in order.’”).

  Research has located no case law in which a court has ordered the public release of

  EMA’s GMP inspection reports.        Accordingly, the Court should maintain the

  Restricted Confidential status and designation of ECF 1189, Ex. CC.


        II.   Plaintiffs Cannot Establish an Overriding Public Interest
              in Disclosure.
        Although Policy/0043 contemplates accessibility of certain categories of

  EMA documents, the Policy explicitly considers and limits accessibility to protect

  the confidentiality of the agency’s own work as well as commercially proprietary,

  confidential and sensitive information of the companies whose facilities are subject

  to inspection.   Ex. A at p. 4.    The Policy defines “commercial confidential

  information” as “any information which is not in the public domain or publicly

  available and where disclosure may undermine the economic interest or competitive
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  position of the owner of the information.” Id. Policy/0043 further notes that in the

  case of documents containing information of commercial interest, “EMA has to

  strike the balance between the right of the requester to gain access to documents and

  the interest of industry to have commercial confidential information duly protected.”

  Id.


        Policy/0043 also reflects the EMA’s intention that the databases of documents

  it currently makes publicly available are of sufficient scope and breadth to satisfy

  the EMA’s obligation of public access:


        EMA considers that the various electronic document databases and
        systems currently made publicly available by EMA effectively enable
        the citizens to exercise the rights given to them by Regulation (EC) No.
        1049/2011, as required by Article 73 of Regulation (EC) No. 726/2004
        and Articles 2(4) and 11 of Regulation (EC) No. 1049/2001.

  Ex. A at p. 7.


        That GMP reports generally, and the Report at issue here, are not publicly

  available through one of the existing EMA databases reflects the agency’s

  determination that the Report is not a publicly accessible document. Likewise,

  Policy/0043 affirms the EMA’s commitment to ensuring “the protection of

  commercial confidential information, personal data, and other conflicting interests”.

  Id. at 7. Although the applicable exceptions to public accessibility provide an avenue
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  for disclosure of documents by the EMA where “there is an overriding public interest

  in disclosure,” Plaintiffs in the instant case cannot demonstrate such an overriding

  public interest to defeat the EMA’s unequivocal proscription against disclosure of

  the Report. See Regulation (EC) No. 1049/2001, attached as Annex to Ex. A at p. 9.

  To the contrary, the EMA’s interest in protecting the integrity of inspections,

  investigations and audits, as well as its commitment to preserving the confidentiality

  of personal and company commercial information shared with the EMA and NCAs

  during inspections outweighs any public interest in making this type of document

  publicly available. See Ex. A at 1 and Annex at p. 9.


       As Plaintiffs themselves are aware, documents relating to the detection of

  impurities in Valsartan API are and have been publicly available through EMA and

  other regulatory agency reports worldwide, and in an abundance of media feature

  articles and special reports.     Moreover, throughout this litigation numerous

  documents have been produced in discovery by the ZHP Parties that do not carry a

  restricted confidential designation and which afford Plaintiffs the opportunity to

  publicly disseminate information about ZHP’s two China plants that produced

  Valsartan API and its finished dose products. The Plaintiffs also, early in this

  litigation, submitted a FOIA request to the FDA and received in exchange a wealth

  of information regarding issues relating to Valsartan and the recall, all of which have
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  no restricted confidential designations. With an abundance of information already

  at their fingertips, Plaintiffs cannot articulate any valid reason for disregarding the

  EMA’s clearly articulated view that the Report, quite simply, is not a document

  permitted public dissemination. See Ex. B at pp. 15-16.


       For these reasons, the Court should maintain ECF 1189, Ex. CC, as a Restricted

  Confidential document.


        III.   The Report is Not Available to Plaintiffs Through An
               EMA Public Information Request.
        Since at least October 4, 2018, non-EU citizens or entities have been

  precluded from submitting applications for access to documents. See Ex. A at p. 4

  (“EMA is no longer in a position to process access to documents requests issued

  from outside the EU”). Even were Plaintiffs to file an application for access to the

  GMP Report pursuant to Regulation (EC) No. 1049/2001, the EMA will refuse to

  process the request. Id. (the right to request access EMA documents is limited to

  “natural or legal persons having their registered office in an EU Member State”).

  Additionally, the EMA’s policy against processing non-EU requests predates the

  GMP Report.


       Further, even in the unlikely event that the EMA were to entertain a request

  from Plaintiffs for public access to and the release of the GMP Report, there is no
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  guaranty that the EMA would grant public access to the document, in whole or in

  part. Policy/0043 provides for a case-by-case review of requested EMA-generated

  documents, redaction of commercial confidential information, and/or a

  determination of continued no access status. In light of the EMA’s discretion in

  granting or denying requests for public access, and the agency’s declination to

  entertain such requests from outside the European Union, neither the Court nor

  Plaintiffs can predict with any certainty that a request for public access to the GMP

  Report would be granted were it made.


       To the contrary, additional information underscores the non-public nature of

  the GMP Reports which reinforces the unlikelihood that the EMA would grant a

  request for public access. In 2017, the FDA and the EMA entered into a Statement

  of Authority and Confidentiality Commitment from the United States Food and Drug

  Administration Not to Publicly Disclose Non-Public Information Shared by the

  European Commission’s Directorate-General for Health and Food Safety and the

  European Medicines Agency (“Confidentiality Commitment”), attached as

  Exhibit D. The Confidentiality Commitment, and the EMA counterpart agreement,

  attached as Exhibit E, permit the FDA and its counterpart agencies in the European

  Union to share and rely upon otherwise non-public information from their respective

  agencies in order to cooperatively perform their regulatory mandated obligations.
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  Importantly, the Confidentiality Commitment and its counterpart stipulate that they

  do not create any rights of access to non-public information which the cooperating

  agencies, respectively, consider confidential and non-public. Ex. D at p. 1. This

  stipulation precludes any notion that sharing of the GMP Report between the EMA

  and the FDA, if it occurred at all, creates, either inherently or explicitly, a right of

  public access through any Freedom of Information Act or similar request.


        Further, the FDA affirmed in the Confidentiality Commitment that it “will

  inform promptly…EMA of any effort made by judicial or legislative mandate to

  obtain non-public information exchanged under the terms of this [agreement]. If

  such judicial or legislative mandate orders disclosure of such non-public

  information, FDA will take all appropriate measures in an effort to ensure that the

  information will be disclosed in a manner that protects the information from public

  disclosure”. Ex. D at p. 2, ¶ 3.


        Thus, in the event of a judicial order that a non-public document such as the

  GMP Report be disclosed to a specific party, the document still must be protected

  from public disclosure, i.e., treated as a restricted confidential document that must

  be filed under seal.      Additionally, the Confidentiality Commitment and its

  counterpart extend to non-public facility inspection reports. See Strengthening EU-

  US cooperation in medicine inspections, European Medicines Agency,
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  Aug.      23,    2017,     https://www.ema.europa.eu/en/news/strengthening-eu-us-

  cooperation-medicine-inspections, attached as Exhibit F.


         For all of the reasons set forth above, the Court should maintain ECF 1189,

  Ex. CC, as a Restricted Confidential document.


         We thank the Court for its courtesies and consideration of this letter brief.

                                                 Respectfully submitted,

                                                 /s/ Julie S. Greenberg

                                                 Julie S. Greenberg


  cc:    Seth A. Goldberg, Esq.
         Jessica Priselac, Esq.
         Christopher Geddis, Esq.
